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 7                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WASHIN1GTON
                                AT SPOKANE
 8
     RAYMOND BALESTRA,
 9   individually and on behalf of all others
     similarly situated,                      No. 2:18-cv-00103-SMJ

10                            Plaintiff(s),   [PROPOSED] ORDER GRANTING
           v.                                 ALEX MCVICKER’S MOTION
11                                            FOR APPOINTMENT AS LEAD
     GIGA WATT, INC., GIGAGWATT               PLAINTIFF AND APPROVAL OF
12   PRE LTD., CRYPTONOMOS PTE.               SELECTION OF COUNSEL
     LTD., AND DAVE CARLSON,
13
                              Defendants.
14

15         THIS COURT, having considered the papers filed in support of the Motion
16 of class member Alex McVicker (“McVicker” or “Movant”) for Appointment as

17 Lead Plaintiff and Approval of Selection of Counsel pursuant to the Private

18 Securities Litigation Reform Act of 1995 (the “PSLRA”), 15 U.S.C. § 77z-

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      [PROPOSED] ORDER APPOINTING
      LEAD PLAINTIFF AND CLASS
      COUNSEL - 1
     Case 2:18-cv-00103-MKD    ECF No. 13-1    filed 05/22/18   PageID.76    Page 2 of
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 1 1(a)(3)(B), and for good cause shown, the Court hereby enters the following

 2 Order:

 3      APPOINTMENT OF LEAD PLAINTIFF AND CO-LEAD COUNSEL

 4          1.   McVicker has moved this Court to be appointed as Lead Plaintiff in

 5 the above-captioned action (the “Action”) and to approve the counsel the Movant

 6 has retained to be Co-Lead Counsel and Liaison Counsel.

 7          2.   Having considered the provisions of Section 27(a)(3)(B) of the

 8 PSLRA, 15 U.S.C. § 77z-1(a)(3)(B), the Court hereby determines that Movant is

 9 the most adequate lead plaintiff and satisfies the requirements of the PSLRA. The

10 Court hereby appoints McVicker as Lead Plaintiff to represent the interests of the

11 Class.

12          3.   Pursuant to Section 27(a)(3)(B)(v) of the PSLRA, 15 U.S.C. § 77z-

13 1(a)(3)(B)(v), McVicker has selected and retained the law firms Levi &

14 Korsinsky, LLP and Silver Miller to serve as Co-Lead Counsel and Breskin

15 Johnson & Townsend PLLC to serve as Liaison Counsel. The Court approves

16 Movant’s selection of Co-Lead Counsel and Liaison Counsel for the Action.

17          4.   Co-Lead Counsel shall have the following responsibilities and duties,

18 to be carried out either personally or through counsel whom Co-Lead Counsel

19 shall designate:

20               a.    to coordinate the briefing and argument of any and all motions;


      [PROPOSED] ORDER APPOINTING
      LEAD PLAINTIFF AND CLASS
      COUNSEL - 2
     Case 2:18-cv-00103-MKD     ECF No. 13-1     filed 05/22/18   PageID.77     Page 3 of
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 1                b.    to coordinate the conduct of any and all discovery proceedings;

 2                c.    to coordinate the examination of any and all witnesses in

 3 depositions;

 4                d.    to coordinate the selection of counsel to act as spokesperson at

 5 all pretrial conferences;

 6                e.    to call meetings of the plaintiffs’ counsel as they deem

 7 necessary and appropriate from time to time;

 8                f.    to coordinate all settlement negotiations with counsel for

 9 Defendants;

10                g.    to coordinate and direct the pretrial discovery proceedings and

11 the preparation for trial and the trial of this matter, and to delegate work

12 responsibilities to selected counsel as may be required;

13                h.    to coordinate the preparation and filings of all pleadings; and

14                i.    to supervise all other matters concerning the prosecution or

15 resolution of the claims asserted in the Action.

16         5.     No motion, discovery request, or other pretrial proceedings shall be

17 initiated or filed by any plaintiffs without the approval of Co-Lead Counsel, so as

18 to prevent duplicative pleadings or discovery by plaintiffs.           No settlement

19 negotiations shall be conducted without the approval of the Co-Lead Counsel.

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      [PROPOSED] ORDER APPOINTING
      LEAD PLAINTIFF AND CLASS
      COUNSEL - 3
     Case 2:18-cv-00103-MKD      ECF No. 13-1      filed 05/22/18    PageID.78    Page 4 of
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 1         6.     Service upon any plaintiff of all pleadings, motions, or other papers

 2 in the Action, except those specifically addressed to a plaintiff other than Lead

 3 Plaintiff, shall be completed upon service of Co-Lead Counsel.

 4         7.     Co-Lead Counsel shall be the spokespersons for any and all plaintiffs

 5 in matters concerning this litigation.

 6                     NEWLY FILED OR TRANSFERRED ACTIONS

 7         8.     When a case that arises out of the subject matter of this Action is

 8 hereinafter filed in this Court or transferred from another Court, the Clerk of this

 9 Court shall:

10                a.     file a copy of this Order in the separate file for such action;

11                b.     deliver a copy of this Order to the attorneys for the plaintiff(s)

12 in the newly filed or transferred case and to any new defendant(s) in the newly

13 filed or transferred case; and

14                c.     make the appropriate entry on the docket for this Action.

15         9.     Each new case that arises out of the subject matter of the Action that

16 is filed in this Court or transferred to this Court shall be consolidated with the

17 Action and this Order shall apply thereto, unless a party objecting to this Order or

18 any provision of this Order shall, within ten (10) days after the date upon which a

19 copy of this Order is served on counsel for such party, file an application for relief

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      [PROPOSED] ORDER APPOINTING
      LEAD PLAINTIFF AND CLASS
      COUNSEL - 4
     Case 2:18-cv-00103-MKD     ECF No. 13-1     filed 05/22/18   PageID.79    Page 5 of
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 1 from this Order or any provision herein and this Court deems it appropriate to

 2 grant such application.

 3         10.   During the pendency of this litigation, or until further order of this

 4 Court, the parties shall take reasonable steps to preserve all documents within

 5 their possession, custody or control, including computer-generated and stored

 6 information and materials such as computerized data and electronic mail,

 7 containing information that is relevant to or which may lead to the discovery of

 8 information relevant to the subject matter of the pending litigation.

 9        Entered this ___ day of _______, 2018.

10

11                                        Honorable Salvador Mendoza, Jr.
                                          United States District Court Judge
12

13 Presented by:

14 BRESKIN JOHNSON TOWNSEND, PLLC

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16    1000 Second Avenue, Suite 3670
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17    Tel: 206-652-8660
      Fax: 206-652-8290
18    rtownsend@bjtlegal.com

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      [PROPOSED] ORDER APPOINTING
      LEAD PLAINTIFF AND CLASS
      COUNSEL - 5
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      [PROPOSED] ORDER APPOINTING
      LEAD PLAINTIFF AND CLASS
      COUNSEL - 6
